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                                                                                   December 12, 2019

 VIA ECF
 Hon. Lois H. Goodman
 United States Magistrate Judge
 United States District Court for the District of New Jersey
 Clarkson S. Fisher Building & U.S. Courthouse
 402 East State Street
 Trenton, NJ 08608

               Re:         Sandoz, Inc. and RareGen, LLC v. United Therapeutics Corporation
                           and Smiths Medical ASD, Inc., Civil Action No. 3:19-cv-10170 (BRM) (LHG)

 Dear Judge Goodman:

         On behalf of Defendants United Therapeutics Corporation and Smiths Medical ASD,
 Inc., we write with regard to Defendants’ pending Opposed Motion to Seal (“the Motion”),
 which seeks to seal and redact several docket entries related to the parties’ briefing on Plaintiffs’
 Motion for Preliminary Injunction. (See ECF No. 151).

          At the hearing held on December 10, 2019 before Judge Martinotti, the parties modified
 their positions on confidentiality. In light of those positions, Defendants wish to narrow
 significantly the scope of their sealing request. Accordingly, Defendants intend to submit a
 revised Index and proposed redactions to the Court.

         Therefore, to avoid wasting judicial resources deciding a sealing or redaction request that
 may be moot, Defendants request that the Court adjourn the December 16, 2019 return date to
 the next available return date, which is January 6, 2020. Based on that new return date,
 Defendants will submit their narrower Index and proposed redactions by December 30, 2019. If
 this revised schedule meets with Your Honor’s approval, Defendants request that the Court “So
 Order” this letter to the docket.

                                                                                   Respectfully submitted,

                                                                                   /s/ Stephen M. Orlofsky
                                                                                   STEPHEN M. ORLOFSKY




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